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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                      Case No. 1:20-cr-00183-RJJ

                                                  Hon. Robert J. Jonker
                                                  Chief United States District Judge
v.




BARRY GORDON CROFT, JR.,
                        Defendant.
________________________________________________________________________/

               RESPONSE TO GOVERNMENT BRIEF REGARDING
                         FALSE WITNESS NAMES

         The government filed a second brief requesting permission to allow witnesses

to testify under false names. See Trial Brief, ECF No. 469, PageID.3510-3512; Brief,

ECF No. 489, PageID.3769-3779. As pointed out in Mr. Croft’s trial brief, the

government had not undertaken to show how the agents are at risk by using their

real names. It still hasn’t made that showing. What it has done is voyeuristically

sift through hours of Mr. Croft’s jail calls to present an incomplete and misleading

picture which warrants correction.

                               MISLEADING EXCERPTS

         The government cites, grossly out of context, several of Mr. Croft’s jail calls.

It writes “[n]otwithstanding the Court’s protective order, defendant Croft has

apparently disclosed discovery materials to the media and extremist associates.

Those associates offered a cash bounty for the identity of informants, and have


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publicly called for violent retaliation against the FBI.” Brief, ECF No. 489,

PageID.3769 (emphasis added). Despite this bold claim, the government does not

cite a single piece of “discovery material” [id.] or even one “case detail” [ECF No

489, PageID.3771] that Mr. Croft has communicated to the media or associates 1 in

violation of the order.

        The “Bounty” Facebook Post

        The Facebook post from some unknown person cited by the government was

made on October 8, 2020 – more than two months before Mr. Croft was even

transported to this District, long before Mr. Croft had obtained any discovery, before

the protective order was entered, and while he was still being held incommunicado

by the FBI in Delaware. The government can’t, in good faith, be arguing that after

the government seized all of Mr. Croft’s electronics and while he was awaiting his

first appearance in the District of Delaware that he somehow was arranging for

people on the outside to offer “bounties” and that he was also clairvoyantly

disclosing discovery which he wouldn’t receive for months to come.

        February 17, 2021 Call

        To support its baseless claim that Mr. Croft has been violating the Court’s

protective order, the government writes:

              On February 17, 2021, Croft told Associate 1 that he was
              planning to speak with a reporter from ProPublica. He
              advised her, “You may want to get in touch with [the
              reporter], because from what my attorney said, he does
              good work. The only thing is, he scheduled a visit, which


1The government also conflates the protective order’s prohibition on disseminating
“discovery material” [ECF No. 176, PageID.987] with case details.


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             comes through the kiosk, and that gets recorded.” He
             added, “But the thing of it is, is if I don’t talk to him
             directly, he can’t use anything against me in the case.” [Id.
             at PageID.3772]

      However, in truth, during the beginning of that phone call, Mr. Croft

explained at length to Associate 1 why he believed particular provisions of the

United States Code prohibited delegation of legislative authority to the executive.

Mr. Croft then said:

             There’s a guy who made a visit with me that I
             couldn’t hold. My lawyer told me to steer clear of
             him. But his name is Adam Thompson. I guess he works
             for a magazine or a newspaper called ProPublica. And you
             may want to get in touch with him because from what my
             attorney says he does good work. The only thing is he
             scheduled a visit that comes through the kiosk and that
             gets recorded. Now these phone calls get recorded too, but
             the thing is if I don’t talk to him directly, he can’t use
             anything against me in the case, but it is very important
             – very, very important, that people study that
             U[nited] S[tates] C[ode] and understand what the
             federal imperialists are doing because these people
             are straight criminals. They have no authority to do
             what they’re doing.

      In context, when it filed the brief, the government knew that Mr. Croft was

talking about sharing his political views on improper delegation of legislative

authority and not some attempt to subvert the protective order in this case, yet it

edited Mr. Croft’s comments such that it appeared otherwise.

      March 7, 2021 Call

      But it doesn’t stop there. The government says, “On March 7, 2021, Croft told

his partner, ‘I’m probably going to be talking to the media soon,’ because ‘I think I’m

gonna need some air support.’”



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      However, Mr. Croft actually said:

             Croft:        I’m probably going to be talking to the media
                           soon.
             Partner:      Why would you do that?
             Croft:        I’m going to need some air support.
             Partner:      What is air support to you?
             Croft:        Some support from people that are free. Some
                           people that actually know what’s going on.
                           Because I found some things in the
                           statutes and codes that are very
                           alarming.

      Again, the government edits Mr. Croft’s statements to make it appear as

though he is up to something nefarious involving “air support” when he is actually

talking about sharing his views on improper delegation of legislative power and

perceived misconduct of the federal government.

      Red Herrings

      Paragraphs 4d and 4e are red herrings. The government alleges that Mr.

Croft told a reporter that there was material in the discovery that he thought

should come out and that Mr. Croft was okay with his statements being attributed

to him. Of note, the government does not allege that Mr. Croft actually disclosed

any discovery material to this reporter.

      Regarding the July 2, 2021 call, the government alleges that someone told

Mr. Croft on a call that a CHS was a “rat”. The source of that “rat”, i.e., cooperating

witnesss designation was apparently a BuzzFeed reporter and Mr. Croft is alleged

to have repeated it. This simply isn’t a disclosure of discovery materials.




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      During the October 6, 2021 call with Reporter 1, Mr. Croft merely expressed

that there was more to the story. The government doesn’t allege that Mr. Croft

disclosed any of this discovery.

      November 15, 2021 call with Reporter 1

      The government references a phone call with “Reporter 1” insinuating that

Mr. Croft had improperly disclosed discovery material, but omits the detail which

confirms that he hasn’t violated the protective order:

             Mr. Croft: You know – I’m allowed to talk about the
                        things that happened when they happened.
                        I’m just not allowed to talk about anything in
                        the discovery.
             Reporter: So you haven’t talked about anything in the
                        discovery.
             Mr. Croft: What’s that?
             Reporter: You haven’t talked to me about anything in
                        the discovery.
             Mr. Croft: Right. That’s the point. I just don’t want them
                        trying to charge me with contempt of court to
                        try to get some sort of conviction on me.
             Reporter: Have you told your lawyer that you’ve talked
                        to me?
             Mr. Croft: I have not.
             Reporter: So that begs like a real other question. So you
                        tell me, do you want me to say “said Barry
                        Croft from an interview in his jail cell”. Or do
                        you want me to say “I know this according to
                        sources”. What are the terms? You just got to
                        tell me.
             Mr. Croft: Well. You know. I know that you guys are
                        pretty good at writing. You guys are pretty
                        good at putting things the way that -- I’m
                        going to leave it to your discretion. I just don’t
                        want to get in a thump with my lawyer, but at
                        the same time I want the truth to come out
                        and I’m very concerned about that, to be
                        honest with you. It’s very concerning that the
                        government can spin their narrative in the



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                           media, but when it comes to me telling my
                           side they slap this protective order on me.
                           How fair is that?

        Mr. Croft has a First Amendment right to speak his mind and be critical of

the government. That he believes there is more evidence which should come out is

not a violation of the protective order; frankly, it’s a fact. More importantly, it

doesn’t pose a risk to “Red” or “Mark” nor justify that they lie about their names

while testifying.

        January 5, 2022 Call

        The government alleges that “On January 5, 2022, Croft told Associate 5,

‘But while all that shit was going on, I did an interview with [Reporter 1]2 ... and

that’s where all these articles have been coming out lately about what’s really going

on.’”

        The government wholly omits that earlier in the call when Associate 5

wanted to discuss what a particular witness had said about someone, Mr. Croft

replied, “I can’t because that’s in the discovery and that would get me contempt of

court.” Put another way, when Associate 5 asked what a witness had said, Mr. Croft

refused to answer because he intended to scrupulously honor this Court’s orders.

        The government knew that, in context, Mr. Croft had explained to Associate 5

that he was bound by the protective order and couldn’t discuss certain topics despite

the other person asking. The government tries to paint it as though Croft was




2Interestingly, the government doesn’t quote any substance from the call with
“Reporter 1”, probably because there’s nothing in violation of the Court’s order.


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responsible for the BuzzFeed articles of which Mr. Kessler so oft complains, but the

truth is that Mr. Croft was explaining that the reporter had done her own work:

               And the thing of it is I have to talk in circles. I can’t even
               really be direct so. A lot of the stuff she’s uncovered was
               just based on her investigative work and she’s done some
               good investigative work. Now there’s a lot of shit that’s
               going to come up at trial that hasn’t even made it in the
               papers yet, so I’m really, really feeling confident once we
               get to trial if the feds think the water’s hot now wait until
               some of the really criminal shit they’ve let happen – we’re
               talking about Robey being able to force himself sexually on
               a patriot. We’re talking about illegal weapon sales by
               informants. We’re talking about trafficking weapons across
               state lines. . . . There’s so much shit that’s going to come
               out at trial the feds are going to look like the new mafia.

         Based on the recorded call, the government knew that Mr. Croft was not

claiming responsibility as the source for the BuzzFeed reporting and had not

violated the protective order.

         January 30, 2022 Video Podcast / Kaleb Franks Plea Agreement

         Paragraph 5h could fairly be summarized as “Barry Croft knows a guy who

feels the same way a large swath of the country does.” It says very little about Mr.

Croft and says nothing about a violation of a protective order. Similarly, paragraph

5i tells us that someone Croft knows wished to exercise his First Amendment rights

to express his displeasure with Mr. Franks’ plea agreement. It surely isn’t how

counsel would choose to spend his free time, but it isn’t a violation of the protective

order.

                                     CONCLUSION

         Because, even considering the out-of-context phone call excerpts, the

government has failed to make a sufficient showing that requiring the agents to


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testify in their true names would pose an actual and serious risk of harm to the

agents and because the Sixth Amendment secures the right to effective cross

examination aimed at “exposing falsehood and bringing out the truth” which “must

necessarily [start by] ask[ing] the witness who he is and where he lives”, the Court

should deny the request to testify under a pseudonym. Smith v. Illinois, 390 U.S.

129, 131; 88 S. Ct. 748; 19 L. Ed. 2d 956 (1968).

                                        Respectfully Submitted,


Dated: February 25, 2022                /s/ Joshua A. Blanchard
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